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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA,
                                                              Case No. 21-CR-91-3 (RCL)
         v.

  TAYLOR JAMES JOHNATAKIS,

         Defendant.

                                                ORDER

        Upon observing and interacting with Defendant Taylor James Johnatakis during the Video

Status Hearing in this matter on March 23, 2023,

        THE COURT FINDS THAT:

        1. There is reasonable cause to believe that defendant Johnatakis may presently be

              suffering from a mental disease or defect rendering him mentally incompetent to the

              extent that he is unable to understand the nature and consequences of the proceedings

              against him or to assist properly in his defense;

       2. A hearing to determine the mental competency of the defendant is appropriate;

       3. A psychiatric or psychological examination of the defendant and report to this Court

              would assist the Court's determination of the defendant's competency; and

       4. Dr. Brent J. O'Neal, of Seattle, Washington, is a licensed and certified psychiatrist

              qualified to conduct such an examination under 18 U.S.C. § 4247(b).

       Accordingly, on the Court's own motion and considering the Government's Motion for

Order for Mental Competency Evaluation, Dkt. Entry 122,

       IT IS HEREBY ORDERED THAT, pursuant to 18 U.S.C. § 4241(a), a hearing to

determine the mental competency of the defendant shall be held before this Court at a date to be
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 determined, at which hearing the defendant shall be represented by counsel pursuant to 18 U.S.C.

 § 4247(d).

           IT IS FURTHER ORDERED THAT, pursuant to 18 U.S.C. § 424l(b), the defendant

shall be examined by a licensed and certified psychiatrist and/or psychologist. The examiner shall

prepare a psychiatric or psychological report pursuant to 18 U.S.C. § 4247(c) which shall be filed

with the court with copies provided to the defendant's counsel and the attorneys for the

government. The report shall include:

              1. The person's history and present symptoms;

              2. A description of the psychiatric, psychological, and medical tests that were

                 employed and their results;

              3. The examiner's findings;

              4. The examiners' opinion as to diagnosis, prognosis, and

              5. Whether the person is suffering from a mental disease or defect rendering him

                 mentally incompetent to the extent that he is unable to understand the nature and

                 consequences of the proceedings against him or to assist properly in his defense.

       IT IS FURTHER ORDERED THAT the United States shall retain Dr. Brent J. O'Neal

to perform the evaluation of defendant's competency and prepare the report. Defendant is ordered

to appear no later than April 28, 2023 and to cooperate with Dr. O'Neal as necessary to conduct

the examination and prepare the report.

       IT IS FURTHER ORDERED THAT the period of time resulting from this proceeding

to determine the mental competency of Defendant Johnatakis shall be excluded in computing the

time within which the trial of Johnatakis must commence, pursuant to 18 U.S.C. § 3161(h)(l)(A)

and (D).
